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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              CASE NO.: 21-62398-civ-Altonaga/Strauss

   ANYI AGUILERA,

                 Plaintiff,
   v.

   JM CELL LLC D/B/A BOOST MOBILE,
   JM ILM LLC,
   JAHONGIR MAMAJONOV,

               Defendants.
   __________________________________/

        PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF BILL OF COSTS

          Plaintiff, ANYI AGUILERA, pursuant to Federal Rule of Civil Procedure 54(d)(1), Local

   Rule 7.3, 28 U.S.C. § 1920, 29 U.S.C. § 216(b), and the Final Judgment [ECF No. 33], hereby

   submits this Memorandum supporting Plaintiff’s Bill of Costs, as follows:




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                                      MEMORANDUM OF LAW

           I.      Plaintiff, as the prevailing party, is entitled to recover costs incurred pursuant
                   to 28 U.S.C. § 1920, 28 U.S.C. § 1921, and Rule 54(d).

           The Eleventh Circuit has held that Rule 54(d) “creates a presumption in favor of awarding

   costs to the prevailing party” which the losing party must overcome. Manor healthcare corp v.

   Lomelo, 929 F.2d 633, 639 (11th Cir. 1991); Delta Airlines, Inc. v. August, 450 U.S. 346, 352

   (1981). In fact, Rule 54 specifically states that:

                   Costs other than attorneys’ fees shall be allowed as of course to the
                   prevailing party unless the court otherwise directs.

   (emphasis added). A district court’s discretion to deny costs (in particular to a prevailing plaintiff

   under the Fair Labor Standards Act) is quite limited, as the courts have noted “[T]he language of

   the rule reasonably bears intendment that the prevailing party is prima facie entitled to costs and

   it is incumbent on the losing party to overcome that presumption … [since] denial of costs … is in

   the nature of a penalty for some defection on his part in the course of the litigation.” Gilchrist v.

   Bolger, 733 F.2d 1551, 1557 (11th Cir. 1984).

           Pursuant to 28 U.S.C. § 1920, taxable costs include:

           (1) Fees of the clerk and marshal;

           (2) Fees for printed or electronically recorded transcripts necessarily obtained for use in
               the case;

           (3) Fees and disbursements for printing and witnesses;

           (4) Fees for exemplification and the costs of making copies of any materials where the
               copies are necessarily obtained for use in the case;

           (5) Docket fees under section 1923 of this title;

           (6) Compensation of court appointed experts, compensation of interpreters, and salaries,
               fees, expenses, and costs of special interpretation services under section 1828 of this
               title.



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   28 U.S.C. § 1920 (2008). Additionally, Plaintiff is entitled to costs pursuant to 29 U.S.C. § 216(b).

                  A.      Fees of the Clerk and Marshal

          Pursuant to § 1920(1), “fees of the clerk and marshal” may be taxed as costs. This includes

   service of process costs. Although § 1920(1) specifically mentions the term “marshal,” since the

   Marshal’s Service rarely serves process anymore, the current trend is to read § 1920 as

   contemplating costs for the service of process in general. EEOC v. W&O, Inc., 213 F.3d 600, 623

   (11th Cir. 2000)(holding that private process server fees may be taxed under § 1920); Collins v.

   Gorman, 96 F.3d 1057 (7th Cir. 1996); Alflex Corp. v. Underwriters Labs., Inc., 914 F.2d 175 (9th

   Cir. 1990); Tang How v. Edward J. Gerritts, Inc., 756 F. Supp. 1540, 1545 (S.D. Fla. 1991)(J.,

   Davis); American United Life Ins. V. American United Ins., 731 F. Supp. 480, 489 (S.D. Fla.

   1990)(J., King); Allen v. Freeman, 122 F.R.D. 589, 592 (S.D. Fla. 1988); Griffith v. Mt. Carmel

   Medical Ctr., 157 F.R.D. 499, 507 (D. Kan. 1994); and Frederick v. City of Portland, 162 F.R.D.

   139, 142 (D. Or. 1995).

          The Eleventh Circuit has held that § 1920(1), read in conjunction with § 1921,1 authorizes

   a court to tax private process servers’ fees as costs, provided that their rates do not exceed the cost

   of having the U.S. Marshall’s Service effectuate process. W&O, Inc. 213 F.3d at 623-24. When

   the Marshal’s Service serves process, its rate is $55.00 per hour for each item served, plus travel

   and other out-of-pocket costs.

          Plaintiff incurred the following costs associated with fees of the clerk and fees for service

   of process in this case:




   1
     Section 1921(a) sets forth the types of activities for which U.S. Marshals may collect a fee;
   serving a subpoena is one activity for which they may collect. Under § 1921(b), the Attorney
   General may prescribe regulations concerning the fees that may be charged by the Marshall’s
   Service. Those regulations are set forth in 28 C.F.R. § 0.114.
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       Date             Type                                 Description                    Cost
     10/19/21    Filing Fee            Complaint                                        $ 446.09
      11/4/21    Service of Process    JM CELL, LLC                                     $   41.00
      11/4/21    Service of Process    JM ILM, LLC                                      $   41.00
     11/30/21    Service of Process    MAMAJONOV, JAHONGIR                              $   41.00
                                                                               Total    $ 569.09
   Exhibit A are invoices for service of process.

                  B.     Copying Costs

          Photocopying is a taxable cost pursuant to 28 U.S.C. § 1920(4). Scroggins v. Air Cargo,

   Inc., 534 F.2d 1124, 1133 (5th Cir. 1975). Generally, a prevailing party may recover the costs of

   photocopies of documents attributable to discovery, pleadings, correspondence, copies of exhibits,

   documents tendered to opposing counsel, and document submitted to the Court for consideration.

   See, e.g., Brewer-Giorgio v. Bergman, 985 F. Supp. 1478, 1485 (N.D. Ga. 1997); Grady v. Bunzl

   Packaging Supply Co., 161 F.R.D. 477, 479 (N.D. Ga. 1995); Desisto College, Inc. v. Town of

   Howey-in-the-Hills, 718 F. Supp. 906, 913 (M.D. Fla. 1989)(finding that “[c]opies attributable to

   discovery’ are a category of copies recoverable under § 1920(4)).

          Plaintiff is seeking $1,947.45 in copying costs at the rate of $0.15 per page. See Allen v.

   Freeman, 122 F.R.D. 589, 591 (S.D.Fla.1988)(rate of $0.15 per page for copying costs was

   reasonable). Exhibit B are the itemized copying costs.




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          II.     Plaintiff is entitled to interest flowing from the date of the Final Judgment on
                  any and all costs taxed by the Court.

          Plaintiff is entitled to interest flowing from the date of the Final Judgment on any and all

   costs taxed by the Court. BankAtlantic v. Blythe Eastman Paine Webber, Inc., 12 F.3d 1045, 1052

   (11th Cir. 1994) (holding that “interest shall accrue on Paine Webber’s taxable costs from the date

   the court entered final judgment in favor of Paine Webber on the merits of BankAtlantic’s action,

   November 24, 1989”—BankAtlantic asserted that the cost interest should run from July 3, 1991,

   the day the district court adopted the magistrate’s report and recommendation as to costs); Georgia

   Ass’n of Retarded Citizens v. McDaniel, 855 F.2d 794, 799 (11th Cir. 1988) (holding that “[w]e

   conclude that when a district court taxes costs against a losing party, the award of costs bears

   interest from the date of the original judgment”). At least one district court in the Southern District

   has expressly followed BankAtlantic on this point. Chiever v. R.J. Schor, Inc., 2008 WL 4097795

   (S.D. Fla. 2008). Other courts have followed Georgia and interpreted the law in this regard in the

   same manner as BankAtlantic without mentioning BankAtlantic. See, e.g., Lane v. Capital

   Acquisitions Management and Co., 554 F. Supp. 2d 1345, 1355 (S.D. Fla. 2008) and Navarro v.

   Broney Automotive Repairs, Inc., 2008 WL 2901440 (S.D. Fla. 2008). Other circuits follow this

   rubric as well. Jenkins by Agvei v. Missouri, 931 F.2d 1273 (8th Cir. 1991); Copper Liquor, Inc.

   v. Adolph Coors Co., 701 F.2d 542 (5th Cir. 1983); and Finkelstein v. Bergua, 804 F. Supp.

   1235, 1240 (N.D. Cal. 1992).




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            III.   Conclusion

            Based on the foregoing, Plaintiff respectfully requests that this Court tax the following

   costs against Defendants, in addition to interest accrued:

                    SECTION                    DESCRIPTION                        COST
               28 U.S.C. § 1920(1)     Fees of the Clerk and Marshal      $              569.09
               28 U.S.C. § 1920(4)     Copy Costs                         $            1,947.45
                                                                  Total   $            2,516.54

                                                    Respectfully submitted,

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                          CERTIFICATE OF GOOD FAITH CONFERRAL

            Undersigned counsel has conferred with Defendants’ counsel pursuant to Local Rule 7.1.A.3.,

   and Defendants’ position is that it does not oppose the filing fee or service, but opposes the copying

   costs.




                                                    Elliot Kozolchyk, Esq.




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